 Case 1:18-cv-00632-RJJ-PJG ECF No. 15 filed 08/03/18 PageID.178 Page 1 of 1
                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                   _______________________________________
                                  MINUTES


JOHN HEYKOOP

v.

JEFFREY WHITE, et al.


CASE NO.    1:18-CV-632
DATE:       8/3/18
TIME:       3 - 3:23 p.m.
PLACE:      Grand Rapids
JUDGE:      Hon. Robert J. Jonker

                               APPEARANCES
PLAINTIFF(S):
John Brennan

DEFENDANT(S):
Patrick Myers
Mark Donnelly

                                 WITNESSES

PLAINTIFF(S):


DEFENDANT(S):

                               PROCEEDINGS

NATURE OF HEARING:

Rule 16 Scheduling Conference held. Orders to enter.


COURT REPORTER:          Glenda Trexler            /s/ Susan Driscoll Bourque
                                                         Case Manager
